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12   Attorneys for Plaintiffs
13

14                        IN THE UNITED STATES DISTRICT COURT
15
                                FOR THE DISTRICT OF ARIZONA
16

17
     Ryan Cox, individually and on behalf of all   Case No.: 3:21-cv-08197-SMB
     others similarly situated,
18
                   Plaintiff,
19
                                                   PLAINTIFFS’ OPPOSITION TO
                                                   MOTION TO DISMISS FOR LACK OF
     vs.
20                                                 SERVICE
21   CoinMarketCap OpCo, LLC, Binance
     Capital Management Co., Ltd. d/b/a Binance
22
     and Binance.com, BAM Trading Services
23   Inc. d/b/a Binance.US, Changpeng Zhao,
     Catherine Coley, Yi He, Ted Lin, and Does
24
     I-X;
25                 Defendants.
26
             Plaintiff, Ryan Cox et al., by and through his attorneys, Arno Naeckel and the
27
      Davillier Law Group LLC, respectfully requests this Honorable Court deny Defendant
28




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1    Catherine Coley’s Motion to Dismiss for Lack of Service of December 15, 2021, Docket
2
     Entry #32, based upon the argument below:
3
                                             FACTS
4

5          On December 10, 2021, Plaintiffs filed its Motion for Extension of Time to Serve
6
     Defendants Zhao, Coley, He, and Lin. [DE 27].
7
           Also on December 10, 2021, Plaintiffs filed an Affidavit of Service by
8

9    Publication, demonstrating that service had been perfected by publishing the summons
10
     and a statement describing how a copy of the pleading being served may be obtained
11
     once a week for four weeks, on November 19, 2021, November 26, 2021, December 3,
12

13   2021, and December 10, 2021 [DE 28].

14         On December 15, 2021, Defendant Catherine Coley filed her Motion to Dismiss
15
     for Lack of Service. [DE 32].
16

17
           On December 16, this Court entered an order granting Plaintiff’s Motion for

18   Extension of Time and setting the deadline for Plaintiffs to perfect service upon
19
     Defendants Changpeng Zhao, Catherine Coley, Yi He, and Ted Lin as sixty days after
20
     the Court’s order denying Plaintiff’s Motion for Alternative Service via Social Media,
21

22   which was December 14, 2021. [DE 33]; [DE 29]. The deadline for Plaintiffs to perfect
23
     service upon Defendant Catherine Coley is therefore Monday, February 14, 2022.
24
                                     LEGAL STANDARD
25

26         Ariz. R. Civ. P. 4.2(f)(1) provides a party may serve by publication only if

27        (A) the last-known address of the person to be served is outside Arizona but:
28
          (i) the serving party, despite reasonably diligent efforts, has not been able to
          ascertain the person's current address; or


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1         (ii) the person has intentionally avoided service of process; and
2
          (B) service by publication is the best means practicable in the circumstances
          for providing notice to the person of the action's commencement.
3

4
            Service is accomplished by publishing the summons and “a statement describing
5
     how a copy of the pleading being served may be obtained at least once a week for 4
6

7    successive weeks in a newspaper published in the county where the action is pending.”
8
     Ariz. R. Civ. P. 4.2(f)(2)(A). The party making service must prepare an affidavit which,
9
     if in compliance with the requirements, constitutes prima facie evidence of compliance
10

11   with the requirements for service by publication. Ariz. R. Civ. P. 4.2(f)(4).

12          “Rule 12(b)(5) allows a party to move to dismiss claims against it for insufficient
13
     service of process.” Kinsey v. Dep’t of Veterans Affs., 2019 WL 4228478, at *2 (D. Ariz.
14

15
     Sept. 5, 2019) (Brnovich, J.). Fed. R. Civ. P. 4(m) provides 90 days to serve defendants

16   after a complaint is filed, and that “the court must dismiss the action without prejudice
17
     or order that service be made within a specified time;” however, if “the plaintiff shows
18
     good cause for the failure, the court must extend the time for service for an appropriate
19

20   period.” Fed. R. Civ. P. 4(m).
21
                                           ARGUMENT
22
       A. Defendant Coley has been served by publication.
23

24          The affidavit from Plaintiffs’ investigator, Dave Zinn [DE 24-1] demonstrates

25   clearly that the serving party has not been able to “ascertain the person’s current address.”
26
     Contrary to the arguments of Defendant Coley, a list of possible addresses of family and
27

28
     relatives, without any certainty or additional information to clarify whether the



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1    addresses are related or not, does not constitute ascertainment of Defendant Coley’s
2
     address. The list of possible phone numbers, aliases, and relatives, without any
3
     confirmed information, demonstrates the reasonable diligence of the Plaintiffs in
4

5    attempting to locate Defendant Coley. Defendant Coley cites to Furst v. Mayne in
6
     support of its proposition, but in that case, the court was focused on the fact that the
7
     plaintiffs there had “successfully served Linda in a different case at her Idaho residence
8

9    on November 5, 2020, well within the service deadline for this case,” and so it was
10
     clearly unreasonable to say her address was unknown for the case in question. Furst v.
11
     Mayne, No. CV-20-01651-PHX-DLR, 2021 U.S. Dist. LEXIS 128801, at *5 (D. Ariz.
12

13   Jan. 29, 2021). Even so, the court in Furst denied those defendants’ motion to dismiss

14   and extended the deadline for service. Id., at *7. Here, diligent investigation has turned
15
     up no confirmed information, only speculation, and thus service by publication is an
16

17
     acceptable alternative.

18          The statute in question, Ariz. R. Civ. P. 4.2(f)(1)(A) permits service by
19
     publication if the serving party has not been able to ascertain the person’s current address
20
     or the person has intentionally avoided service of process. Plaintiffs allege, and provided
21

22   the investigator’s report as proof, that they have not been able to ascertain Defendant
23
     Coley’s current address. Further, the lack of any confirmed addresses belies Defendant
24
     Coley’s contention that the statute required mailing of a copy of the pleading in addition
25

26   to service by publication. Defendant Coley alleges that the affidavit is silent on the

27   matter of mailing efforts, but the affidavit does include information that Catherine
28




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1    Coley’s address is unknown in the information that was published for four consecutive
2
     weeks in the Arizona Capitol Times.
3
            Finally, Defendant Coley argues from Ariz. R. Civ. P. 4.2(f)(2)(D) that service
4

5    of process would not be effective under this method until January 9, 2022. Defendant
6
     Coley acknowledges a different possible date in a footnote, which is in fact the accurate
7
     reading of the statute, which states that service of process by publication is complete
8

9    “30 days after the summons and statement is first published.” Ariz. R. Civ. P.
10
     4.2(f)(2)(D). December 19, 2021 is when service was perfected, within the time granted
11
     by this Court upon Plaintiffs’ request for an extension.
12

13     B. Service by publication has fulfilled minimum notice requirements.

14          “[P]ublication satisfies due process minimum notice requirements if it is the best
15
     means of notice under the circumstances and it is reasonably calculated to apprise the
16

17
     interested parties of the pendency of the action. Master Fin., Inc. v. Woodburn, 208 Ariz.

18   70, 73, 90 P.3d 1236, 1239 (Ct. App. 2004).
19
            Indeed, Defendant Coley has appeared through counsel, demonstrating that,
20
     whatever Defendant Coley’s arguments as to due process, actual notice of the
21

22   proceedings, and therefore the opportunity “to apprise interested parties of the pendency
23
     of the action and afford them an opportunity to present their objections” has been
24
     provided. Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314, 70 S. Ct. 652,
25

26   657 (1950).

27          Given the circumstances as outlined in the Complaint—those of stateless
28
     individuals living without established footprint due to their cryptocurrency holdings—


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1    service by publication is, under the circumstances, the best means of notice due to the
2
     uncertain nature of any of the findings of the investigation.
3
       C. This Court found good cause for an extension.
4

5           Defendant Coley finally argues that Plaintiff does not have good cause for not
6
     yet perfecting service. However, this Court, upon Plaintiffs’ request for additional time
7
     to serve Defendants Changpeng Zhao, Catherine Coley, Yi He, and Ted Lin, found good
8

9    cause for an extension of time and granted it, giving Plaintiffs until February 14, 2022
10
     to perfect service upon these Defendants. As such, Defendant Coley’s arguments that
11
     she has not been served are moot, as the Court has granted additional time. Defendant
12

13   Coley’s argument that good cause does not exist has been rejected by this Court in this

14   Court’s finding of good cause.
15
            There now remain approximately one and a half months for service of process
16

17
     upon Catherine Coley. Plaintiffs may elect service by a variety of methods as established

18   by local rules and the Federal Rules of Civil Procedure. If, at such time as service is
19
     perfected, Defendant Coley contests its adequacy, that argument could be made at the
20
     proper time. For the present, however, Plaintiffs respectfully request this Court deny
21

22   Defendant Catherine Coley’s Motion to Dismiss for Lack of Service.
23
                                    Respectfully submitted this 29th day of December, 2021.
24

25
                                                                          /s/ Arno Naeckel
26
                                                                              Arno Naeckel
27                                                         DAVILLIER LAW GROUP, LLC
                                                             3443 N. Central Ave. Ste 1009
28
                                                                       Phoenix, AZ 85012


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1                           CERTIFICATE OF COMPLIANCE
2

3    I hereby certify that this Motion, which is 6 pages, does not exceed the page limit set
4
     forth by LRCiv 7.2(e)(1) of 17 pages.
5
                                                    Dated this 29th day of December, 2021.
6

7                                                                       /s/ Arno Naeckel
                                                                            Arno Naeckel
8
                                                         DAVILLIER LAW GROUP, LLC
9                                                          3443 N. Central Ave. Ste 1009
                                                                     Phoenix, AZ 85012
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1                              CERTIFICATE OF SERVICE
2
     I hereby certify that on December 29th, 2021, I electronically submitted the foregoing
3
     document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
4

5    Notice of Electronic Filing to the CM/ECF registrants on record.
6

7
                                                    Dated this 29th day of December, 2021.
8

9                                                                       /s/ Arno Naeckel
                                                                            Arno Naeckel
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                                                         DAVILLIER LAW GROUP, LLC
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